                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 12-00072-09-CR-W-BCW
                                             )
NORBERTO A. DANGLA-SANCHEZ,                   )
                                             )
                      Defendant.             )

                                            ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation (Doc.

#379) denying Defendant Norberto A. Dangla-Sanchez’s Motion to Suppress Evidence Pursuant

to Federal Rule of Criminal Procedure 12(b)(3) (Doc. #255). Defendant filed objections (Doc.

#388) to the Report and Recommendation. After an independent review of the record, the

applicable law, and the parties’ arguments, the Court adopts Magistrate Judge Hays’ findings of

fact and conclusions of law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #379),

Defendant’s Motion to Suppress (Doc. #255) is DENIED. It is further

       ORDERED that Magistrate Judge Hays’ Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.




DATED: October 3, 2013                               /s/ Brian C. Wimes
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT




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